Defendant was driving an automobile on a street in Flint at an excessive and unlawful speed. Police officers stopped and arrested him for this offense. They immediately searched the automobile and found therein intoxicating liquor, for the unlawful possession of which defendant was tried, convicted, and sentenced. His assignments of error as briefed present the question that his motion to suppress the evidence as having been obtained in violation of his constitutional right to be secure against unreasonable searches and seizures ought not to have been denied. The arrest here was lawful, and that it therefore was proper for the officers to search the person of defendant and the vehicle in which he was then riding is settled by the following authorities, from which we need not quote: People v. Cona, 180 Mich. 641; People v. Conway,225 Mich. 152; People v. Du Shane, 240 Mich. 35; 39 A.L.R. 818, note.
Affirmed.
NORTH, C.J., and FEAD, FELLOWS, WIEST, McDONALD, POTTER, and SHARPE, JJ., concurred. *Page 538 